       Case 2:23-cv-00796-GGG-KWR Document 19-2 Filed 06/14/23 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

ARTHUR SAWYER; JARRETT DRAKE;
ERIC MESCHINO, on behalf of themselves
and those similarly situated
                      Plaintiffs,                      CIVIL ACTION NO. 2:23-CV-00796


           VERSUS
                                                       JUDGE GREG GERARD GUIDRY
MONTEREY BAY AQUARIUM and
MARINE STEWARDSHIP COUNCIL,
                                                       MAG. KAREN WELLS ROBY
                         Defendants.



  DEFENDANT MONTEREY BAY AQUARIUM FOUNDATION’S SUPPLEMENTAL
      REPLY MEMORANDUM IN SUPPORT OF MOTION TO TRANSFER
         DUE TO IMPROPER VENUE OR, IN THE ALTERNATIVE,
                  LACK PERSONAL JURISDICTION

           MAY IT PLEASE THE COURT:

           This memorandum is respectfully submitted by Defendant Monterey Bay Aquarium

Foundation (“MBA”) in reply to Plaintiffs’ Supplemental Memorandum in Opposition to MBA’s

Motion to Transfer Due to Improper Venue or, in the Alternative, Lack of Personal Jurisdiction

(R. Doc. 18).

      I.      Argument

           Responding to Plaintiffs’ arguments regarding jurisdiction is akin to playing a game of

“Whac-a-Mole.” In their Petition, Plaintiffs alleged that this Court has personal jurisdiction over

MBA because the Seafood Watch website is accessible in Louisiana, and further, because MBA’s

Seafood Watch recommendations have caused Whole Foods, Hello Fresh, and Blue Apron to cease

selling American lobster nationwide, including in the state of Louisiana. R. Doc. 1 at ¶¶ 15(b), 69,

77.
     Case 2:23-cv-00796-GGG-KWR Document 19-2 Filed 06/14/23 Page 2 of 6




       In MBA’s Motion to Transfer Due to Improper Venue or, in the Alternative, Lack of

Personal Jurisdiction (R. Doc. 7), MBA responded to these allegations by noting that the United

States Court of Appeal for the Fifth Circuit has squarely held that “[m]aking a website that’s visible

in [the forum state] of course, does not suffice [to establish personal jurisdiction].” Johnson v. The

HuffingtonPost.com, Inc., 21 F.4th 314, 320 (5th Cir. 2021), cert. denied, 214 L. Ed. 2d 277, 143

S. Ct. 485 (2022). Rather, what matters is whether “the forum state was ‘the focal point both of

the [alleged libel] and of the harm suffered.’” Id. at 318 (citing Calder v. Jones, 465 U.S. 783, 789

(1984)). Further, with respect to Whole Foods, et al., the Fifth Circuit has held that an allegation

that the plaintiff suffered harm in the forum state is not sufficient to establish jurisdiction. Clemens

v. McNamee, 615 F.3d 374, 376 (5th Cir. 2010). Rather, what matters if whether the forum state

was “’the focal point both of the [alleged libel] and of the harm suffered.’” Johnson, 21 F.4th at

318 (quoting Calder, 465 U.S. at 789).

       Plaintiffs then revised their arguments for jurisdiction and venue. Specifically, they

acknowledged that “MBA may on its own lack a presence in Louisiana,” but argued that MBA is

nonetheless subject to jurisdiction in Louisiana under an agency theory because MBA allegedly

compels companies such as Whole Foods, HelloFresh and Blue Apron to sell or purchase only

products approved by Seafood Watch. R. Doc. 11. at 6-7. Importantly, Plaintiffs acknowledged

that their agency argument required that MBA, as the alleged principal, “have the right to control

both the means and the details of the process by which the alleged agent is to accomplish his task”:

       “Essential to the existence of an actual agency relationship is (1) acknowledgement
       by the principal that the agent will act for him, (2) the agent’s acceptance of the
       undertaking, and (3) control by the principal over the actions of the agent.” In re
       ChineseManufactured Drywall Products Liability Litigation, 753 F.3d 521, 530
       (5th Cir. 2014) (quoting Goldschmidt v. Holman, 571 So.2d 422, 424 n.5 (Fla.
       1990) (internal quotation marks omitted)). “The essential element of an agency
       relationship is the right of control. The alleged principal must have the right to
       control both the means and the details of the process by which the alleged agent is



                                                   2
     Case 2:23-cv-00796-GGG-KWR Document 19-2 Filed 06/14/23 Page 3 of 6




        to accomplish his task.” Matter of Carolin Paxson Advertising, Inc., 938 F.2d 595,
        598 (5th Cir. 1991) (internal citations omitted), accord Aupied v. Joudeh, 694 So.2d
        1012, 1015 (La. Ct. App. 1997).

R. Doc. 11 at 5. Indeed, under the jurisprudence cited by Plaintiffs, the control must be so complete

that the purported agent “manifests no separate corporate interests of its own and functions solely

to achieve the purposes of the dominant corporation.” In re Chinese-Manufactured Drywall

Products Liability Litigation, 753 F.3d 521, 530 (5th Cir. 2014).

        MBA responded to Plaintiffs’ agency theory by showing that Plaintiffs’ allegations

regarding the relationship between MBA and Whole Foods, HelloFresh and Blue Apron came

nowhere close to the level of control required. R. Doc. 13-2 at 4-5. MBA further noted that even

if MBA’s relationship with Whole Foods, et al. was sufficient to establish an agency relationship

for jurisdictional purposes, Plaintiffs would still be required to establish that the conduct of the

agent relevant to the lawsuit was directed at the forum state, which they had not done. Id. at 7-8.

        Plaintiffs have now filed a supplemental memorandum to offer evidence1 showing that

Whole Foods displays the Seafood Watch logo in its stores, and that it affirmatively tells its

customers that it does not sell products that receive a “red” rating from Seafood Watch.

Significantly, despite their prior representations to this Court that “agency” requires a showing of

control, they now claim that whether or not MBA has the power to control anything about Whole

Foods “is irrelevant.” R. Doc. 16-2 at 3. What matters, according to Plaintiffs’ most recent filing,

is whether Whole Foods has made a commitment to follow MBA recommendations. Id. (“Whether

or not MBA actually has the power to hold a corporate partner to its commitment is irrelevant to

the question of whether such a commitment actually exists.”).


1
  MBA objects to the use of Plaintiffs’ exhibits in their supplemental memorandum as hearsay. These exhibits amount
to unauthenticated statements made by Whole Foods and are being offered to prove the truth of the matter asserted.
These statements are clearly hearsay under Rule 801 of the Federal Rules of Evidence. As such, this Court should not
consider Plaintiffs’ exhibits in their supplemental memorandum.


                                                         3
     Case 2:23-cv-00796-GGG-KWR Document 19-2 Filed 06/14/23 Page 4 of 6




         Respectfully, Plaintiffs’ filings are slithery. For example, in their original Complaint,

Plaintiffs alleged that MBA “collaborates with several major buyers of seafood—including Blue

Apron, Hello Fresh, and Whole Foods,” R. Doc. 1 at ¶ 25 (emphasis added). Then, in their

Opposition to MBA’s Motion, Plaintiffs curiously claimed that “MBA’s portrayal of this

relationship as a “partnership” or “collaboration” is immaterial,” and further that “MBA

exercise[s] considerable control over the purchasing decisions of [Whole Foods].” R. Doc. 11 at

7-8 (emphasis added). Now, in their supplemental memorandum, Plaintiffs assert that whether or

not MBA actually has the power to control Whole Foods “is irrelevant.” R. Doc. 16-2 at 2.

         Plaintiffs’ confusing advocacy can be easily resolved, however. Plaintiffs themselves have

acknowledged that a finding of “agency” requires “(1) acknowledgement by the principal that the

agent will act for him, (2) the agent’s acceptance of the undertaking, and (3) control by the

principal over the actions of the agent.” R. Doc. 11 at 5. These elements plainly do not exist

between MBA and Whole Foods.

         That Whole Foods has declared to its customers that it will not sell seafood rated “red” by

Seafood Watch2 says nothing about why Whole Foods has made this decision, and Plaintiff has

utterly failed to demonstrate that MBA in fact controls anything at Whole Foods. By way of

example, if a retailer declared to its customers that it only sold products that have received the

Good Housekeeping seal of approval, such a declaration would not establish that Good

Housekeeping controlled the retailer. And it most certainly would have no effect on where Good

Housekeeping is subject to jurisdiction.




2
 As noted previously, even Whole Foods’ commitment on this is conditional, as it says it will not sell seafood rated
Red by Seafood Watch “unless it’s Marine Stewardship Council certified sustainable.”
www.wholefoodsmarket.com/quality-standards/seafood-standards.


                                                         4
     Case 2:23-cv-00796-GGG-KWR Document 19-2 Filed 06/14/23 Page 5 of 6




         Finally, it bears mention that in neither of Plaintiffs’ offerings to this Court do they address

the requirements that the actions purportedly establishing jurisdiction must be directed toward the

forum state, and that “the forum state must ‘the focal point both of the [alleged libel] and of the

harm suffered.’” Johnson, 21 F.4th 314 at 318 (quoting Calder v. Jones, 465 U.S. 783 (1984)).

Plaintiffs have not alleged that any statement or other action by MBA giving rise to Plaintiffs’

claims—or any statement or other action by Whole Foods—was directed at Louisiana, or that

Louisiana was the focal point of the harm they suffered. Nor could they.

   II.       Conclusion

         For the foregoing reasons, MBA submits that this Court lacks both jurisdiction and venue,

and that this case should be transferred to the United States District Court for the Northern District

of California, or alternatively that the case should be dismissed.

                                                         Respectfully submitted:


                                                         /s/ Loretta G. Mince
                                                         Loretta G. Mince (La Bar No. 25796)
                                                         Michael R. Dodson (La. Bar No. 37450)
                                                         Ashton Licciardi (La. Bar No. 38816)
                                                         FISHMAN HAYGOOD L.L.P.
                                                         201 St. Charles Ave. # 4600,
                                                         New Orleans, Louisiana 70170
                                                         Telephone: (504) 586-5252
                                                         Facsimile: (504) 586-5250
                                                         lmince@fishmanhaygood.com
                                                         mdodson@fishmanhaygood.com
                                                         alicciardi@fishmanhaygood.com
                                                         Attorneys for Monterey Bay Aquarium
                                                         Foundation




                                                    5
    Case 2:23-cv-00796-GGG-KWR Document 19-2 Filed 06/14/23 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2023, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all counsel of record.

                                                      /s/ Loretta G. Mince




                                                 6
